   Case 2:22-cv-04355-JFW-JEM Document 376-40 Filed 07/27/23 Page 1 of 1 Page ID
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        Bored Ape Yacht Club
                                                                               Exhibit 133
                                                                               Deponent: Ryder Ripps
                                                                               Date: Janury 12. 2023
                                                                            CSR No: [4125


           Active Offer

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